     Case 8:20-cr-00088-JLS Document 53 Filed 09/02/21 Page 1 of 3 Page ID #:320




 1      Michael A. Goldstein     SBN 183555
        GOLDSTEIN LAW GROUP
 2      1645 Vine Street, Suite 809
        Los Angeles, California 90028
 3      Telephone: 323-461-2000
        Facsimile: 323-446-7372
 4      mg@goldsteinlawgroup.com
 5      Hagop Kuyumjian           SBN 259995
        THE KUYUMJIAN FIRM, APC
 6      515 S. Flower Street, Suite 1900
        Los Angeles, California 90071
 7      Telephone: 213-785-3207
        Facsimile: 213-236-3781
 8      hk@tkflaw.com

 9      Attorneys for Plaintiff/Petitioner
        KAIS MOHAMMAD
10
11
12
                                  UNITED STATES DISTRICT COURT
13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
15
        UNITED STATES OF AMERICA,                    Case No. 8:20-CR-00088-JLS
16
                     Plaintiff,                      DEFENDANT’S EX PARTE
17                                                   APPLICATION TO EXTEND
                              vs.                    SURRENDER DATE;
18                                                   DECLARATION OF MICHAEL
        KAIS MOHAMMAD,                               GOLDSTEIN
19
                     Defendant.
20
21
22      TO    TRACY L. WILKISON, ACTING UNITED STATES ATTORNEY FOR
23            THE CENTRAL DISTRICT OF CALIFORNIA; BRANDON FOX,
24            ASSISTANT UNITED STATES ATTORNEY, CHIEF, CRIMINAL
25            DIVISION; AND IAN YANNIELLO, ASSISTANT UNITED STATES
26            ATTORNEY:
27      TO    THE CLERK OF THE COURT:
28
                    DEFENDANT’S EX PARTE APPLICATION FOR ORDER SEALING DOCUMENT;
                                DECLARATION OF MICHAEL A. GOLDSTEIN
     Case 8:20-cr-00088-JLS Document 53 Filed 09/02/21 Page 2 of 3 Page ID #:321




 1            Defendant Kais Mohammad (“Defendant”), by and through counsel, hereby
 2      applies to the Court for an Order extending his surrender date for 14 days.
 3      Defendant’s present surrender date is September 7, 2021.
 4
 5      DATED: September 2, 2021                     GOLDSTEIN LAW GROUP

 6
                                                     ______/s/______________________
 7                                                   MICHAEL A. GOLDSTEIN
                                                     Attorney for Defendant
 8                                                   KAIS MOHAMMAD
 9
10                                                   THE KUYUMJIAN FIRM, APC
11
12                                                   ______/s/______________________
                                                     HAGOP KUYUMJIAN
13                                                   Attorney for Defendant
                                                     KAIS MOHAMMAD
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                             -2-
                   DEFENDANT’S EX PARTE APPLICATION FOR ORDER SEALING DOCUMENT;
                                DECLARATION OF MICHAEL GOLDSTEIN
     Case 8:20-cr-00088-JLS Document 53 Filed 09/02/21 Page 3 of 3 Page ID #:322




 1                        DECLARATION OF MICHAEL GOLDSTEIN
 2      I, Michael Goldstein, declare:
 3         1.    I hereby declare the following and certify that the same is true of my own
 4               personal knowledge, except as those matters which are herein stated upon
 5               information and belief and as to those matters I believe them to be true, and I
 6               further declare that I could and would competently testify to such matters if
 7               called upon to so testify in Court.
 8         2.    I am one of the attorneys of record for Defendant Kais Mohammad (“Mr.
 9               Mohammad”).
10         3.    Mr. Mohammad is requesting a 14-day extension on his surrender date.
11         4.    The Government has been notified about this application and has no
12               objection to extending Mr. Mohammad’s surrender date for 14 days.
13
14         I declare under penalty of perjury of the laws of the United States that the forgoing
15      is true and correct to the best of my knowledge and belief. Executed on September 2,
16      2021 in Los Angeles County, California.
17
                                                       ______/s/______________________
18                                                     MICHAEL GOLDSTEIN
19
20
21
22
23
24
25
26
27
28                                              -3-
                    DEFENDANT’S EX PARTE APPLICATION FOR ORDER SEALING DOCUMENT;
                                 DECLARATION OF MICHAEL GOLDSTEIN
